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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS

                                                                                            FILED
                                                                                        August 02, 2023
 NATIONAL INFUSION CENTER                                                             CLERK, U.S. DISTRICT COURT
 ASSOCIATION, on behalf of itself and its                                             WESTERN DISTRICT OF TEXAS
 members; GLOBAL COLON CANCER                                                                      so
                                                                                 BY: ________________________________
 ASSOCIATION, on behalf of itself and its                                                                DEPUTY
 members; and PHARMACEUTICAL
 RESEARCH AND MANUFACTURERS OF
 AMERICA, on behalf of itself and its
 members,
                      Plaintiffs,
                                                     Civil Action No. 1:23-cv-00707
 vs.

 XAVIER BECERRA, in his official capacity
 as Secretary of the U.S. Department of Health
 and Human Services; the U.S.
 DEPARTMENT OF HEALTH AND
 HUMAN SERVICES; CHIQUITA BROOKS-
 LASURE, in her official capacity as
 Administrator of the Centers for Medicare and
 Medicaid Services; and the CENTERS FOR
 MEDICARE AND MEDICAID SERVICES,

                      Defendants.




                                          ORDER

       IT IS ORDERED that the parties’ deadlines and page limits for briefing their forthcoming

cross-motions for summary judgment are as set forth below:




                                                 1
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 Motion/Response               Deadline                       Page Limit
 Plaintiff’s Motion for        August 10, 2023                30 pages
 Summary Judgment
 Defendants’ Combined          September 29, 2023             40 pages
 Cross-Motion for Summary
 Judgment and Opposition to
 Plaintiff’s Motion for
 Summary Judgment
 Plaintiff’s Combined Reply    October 26, 2023               30 pages
 and Opposition to
 Defendants’ Cross-Motion
 Defendants’ Reply             November 17, 2023              20 pages


       IT IS FURTHER ORDERED that, given the parties’ forthcoming cross-motions for

summary judgment, Defendants need not file an Answer to the Complaint.


       SIGNED this the 2nd day of August, 2023.


                                   ___________________________________
                                   UNITED STATES DISTRICT JUDGE




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